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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA

                                    CASE NO. 8:19-CV-02922

BRIAN RUBY, individually and on behalf
of all those similarly situated,

         Plaintiff,

v.

UNITED SERVICES AUTOMOBILE
ASSOCIATION and CCC
INFORMATION SERVICES, INC.,

         Defendants.                               /

     DEFENDANTS’ MOTION FOR LEAVE TO FILE REPLY MEMORANDUM TO
     PLAINTIFFS’ RESPONSE IN OPPOSITION TO DEFENDANTS’ MOTION TO
             COMPEL APPRAISAL AND DISMISS THE COMPLAINT

         Pursuant to Local Rule 3.01(c) & (d), Defendants United Services Automobile Association

(“USAA”) moves for leave to file a reply brief of twelve (12) substantive pages or fewer addressing

discrete issues raised in Plaintiff’s response in opposition to USAA’s Motion to Compel Appraisal

and Dismiss the Complaint. USAA asks that the Court grant this Motion and set a filing deadline

of March 19, 2020, or seven (7) days after entry of the Court’s order granting leave, whichever is

later.

         In Plaintiff’s Response in Opposition to USAA’s Motion to Compel Appraisal and Dismiss

the Complaint, Plaintiff mischaracterizes the nature of this action, claiming that the dispute is not

about the value of Plaintiff’s vehicle. (Doc. 40, at p. 4.) USAA requests leave to clarify the

allegations raised by Plaintiff, including the relief sought.

         In addition, Plaintiff mischaracterizes the legal authority defining the scope of appraisable

issues, claiming that challenges to a vehicle valuation do not constitute appraisable issues if the

valuation method is challenged as well. (Id. at pp. 9–13.) Plaintiff cites to new cases that were
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not briefed in USAA’s Motion and are distinguishable from the issues before this Court. This is

an area of law with recent case development within the past year. USAA seeks leave to reply in

support of its motion to clarify and provide insight into the law on appraisable issues.

         For the above reasons, USAA respectfully request that the Court grant it leave to file a

reply memorandum of twelve (12) pages by March 19, 2020, or within seven days of entry of the

Court’s order granting leave, whichever is later. See Ottaviano v. Nautilus Ins. Co., No. 8:08-CV-

2204T33TGW, 2009 WL 425976, at *1 (M.D. Fla. Feb. 19, 2009) (granting request to file reply

to address inapplicability of cited cases and misstatement of facts in opposition brief).

         WHEREFORE, for the foregoing reasons, USAA respectfully request that the Court

(a) grant leave for USAA to file a reply of no more than twelve (12) pages, (b) due by March 19,

2020, or seven (7) days after the Court grants leave, whichever is later, and (c) award USAA any

and all other further relief as deemed just and proper.

                   CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 3.01(g)

         The undersigned counsel hereby certifies that he conferred with counsel for Plaintiff via

telephone and email on March 6, 2020, and opposing counsel does not oppose this Motion.

                                                  Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

         I hereby certify that on March 6th 2020, a copy of the foregoing was filed electronically.

Notice of this filing will be sent to all parties by operation of this Court’s electronic filing system

or via electronic mail for any unregistered party.




                                                     /s/ Mathew G. Drocton
                                                     BAKER & HOSTETLER LLP

                                                     Attorney for Defendant
                                                     United Services Automobile Association




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